                       Case 1:24-cv-03571                 Document 1-8        Filed 12/20/24       Page 1 of 1

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        AMGEN INC.; ELI LILLY AND COMPANY;
                     UCB, INC.


                            3ODLQWLII V
                                 Y                                          &LYLO$FWLRQ1R 1:24-cv-3571
      XAVIER BECERRA, SECRETARY OF THE
       U.S. DEPARTMENT OF HEALTH AND
             HUMAN SERVICES, et al.

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                                          HUMAN SERVICES
                                          200 Independence Avenue SW
                                          Washington, DC 20201




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        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
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ZKRVHQDPHDQGDGGUHVVDUH Jeffrey L. Handwerker
                                          Arnold & Porter Kaye Scholer LLP
                                          601 Massachusetts Ave., NW
                                          Washington, DC 20001-3743



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